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EXHIBIT 3
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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Nevada
John Dogbe, an individual; )
Alberta Dogbe, an individual )
)
)
Plaintiff(s) )
v. Civil Action No. 24-283
The Lakes at Lemmon Valley, LLC, )
A Nevada Limited Liability Company )
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The Ske Viste Panay LLC
Reno, NV 89506

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

- Jennifer McMenomy, Esq.
whose name and address are: McMenomy Law, PLLC

100 Vine Street
Reno, NV 89503

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
